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Supreme Court of the State of New Bork Bf (¢ 7
Appellate Bivision: Second Judicial Bepartnent

 

 

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A. GAIL PRUDENTI, PJ. “ wi. ILED
WILLIAM F. MASTRO Us. DIBTRIGT COURT EDR.
REINALDO E. RIVERA *% AUG 12201
PETER B. SKELOS ‘ -
L. PRISCILLA HALL, JJ. BROOKLYN OFFICE
2011-03241 OPINION & ORDER

In the Matter of Stephen R. Hill, admitted as Stephen
Richard Hill, an attorney and counselor-at-law.

resignor. COG AN, J.

(Attorney Registration No. 1151638)

 

Resignation tendered pursuant to 22 NYCRR 691.9 by Stephen R. Hill, who was
admitted to the Bar at a term of the Appellate Division of the Supreme Court in the Second Judicial

Department on March 16, 1966, under the name Stephen Richard Hill.

Robert A. Green, Hauppauge, N.Y. (Stacey J. Sharpelletti, of counsel), for the
Grievance Committee for the Tenth Judicial District.

Donald N. Rizzuto, Valley Stream, N.Y., for resignor.

PER CURIAM. Stephen R. Hill (hereinafter the resignor) has submitted
an affidavit dated February 10, 2011, wherein he tenders his resignation as an attorney and
counselor-at-law (see 22 NYCRR 691.9). Mr. Hill was admitied to the Bar at a term of the Appellate
Division of the Supreme Court in the Second Judicial Department on March 16, 1966, under the
name Stephen Richard Hill.

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On July 7, 2010. in the Supreme Court, Nassau County (Donnino, J.), the resignor
pleaded guilty to one count of attempted grand larceny in the fourth degree, a class A misdemeanor.
in violation of New York Penal Law §§ 110 and 155.30, That plea was in full satisfaction of a one-
count indictment charging the resignor with grand larceny in‘the third degree.

The indictment alleged that “between the Ist day of January of 2000 and the Ist day
of February, 2006 in the County of Nassau, with [the] intent to deprive another of property, [the
respondent] wrongfully withheld property from the owner thereof and the value of the property
exceeded $3,000,"

During the resignor’s plea allocution, the Supreme Court clarified the facts underlying
the indictment, to wit, that the resignor had an employee from whom he withheld tax money, which
was due the State, but which was never paid to the State. In exchange for pleading to the reduced
charge, the resignor was required to submit his resignation as an attorney and make restitution in the
sum of $18,346.55 in advance of sentencing.

On February 10, 2011, the resignor executed an Affidavit of Resignation and paid the
required restitution. He was thereupon sentenced to a conditional discharge, upon the condition that
he engage in no further criminal activity for a period of one year.

The resignor promptly forwarded his Affidavit of Resignation dated February 10,
2011, to this Court. He avers therein that he would not be able to successfully defend himself on ihe
merits against charges predicated upon the foregoing facts and circumstances.

The resignor further acknowledges that his resignation is freely and voluntarily
tendered; that he is not being subjected to coercion or duress by anyone; and that he is fully aware of
the implications of submitting the resignation, including the fact that he is barred from applying for
reinstatement as an attorney and counselor-at-law for a period of seven years.

The Grievance Committee for the Tenth Judicial District recommends acceptance of
the resignor's resignation. :

Inasmuch as the proffered resignation is in’ reasonable compliance with the
requirements of 22 NYCRR 691.9, it is accepted and, cftective immediately, Mr. Hill is disbarred and

his name is stricken from the roli of attorneys and counselors-at-law.

PRUDENTI, P.J.. MASTRO, RIVERA, SKELOS and HALL, JJ.,concur.

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ORDERED that the resignation of Stephen R. Hill, is accepted and directed to be filed;
and it is further,

ORDERED that pursuant to Judiciary Law § 90, effective immediately, Stephen R.

Hill, is disbarred and his name is stricken from the roll of attorneys and counselors-at-law: and it is
further,

ORDERED that Stephen R. Hill, shall promptly comply with this Court’s rules
governing the conduct of disbarred, suspended, and resigned attorneys (see 22 NYCRR 691.10); and
it is further,

ORDERED that pursuant to Judiciary Law § 90, effective immediately, Stephen R.
Hill, is commanded to desist and refrain from (1) practicing law in any form, either as principal or as
agent, clerk, or employee of another, (2) appearing as an attorney or counselor-at-law before any
court. Judge. Justice, board, commission, or other public authority, (3) giving to another an opinion
as to the law or its application or any advice in relation thereto, and (4) holding himself out in any
way as an attorney and counselor-at-law; and it is further,

ORDERED that if Stephen R. Hill has been issued a secure pass by the Office of Court
Administration, it shall be returned forthwith to the issuing agency, and he shall certify to the same
in his affidavit of compliance pursuant to 22 NYCRR 691.10(P.

ENTER:

Matthew G. Kiernan
Clerk of the Court

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